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                                                    December 20, 2017



BY ECF

Honorable Valerie E. Caproni
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re: United States v. Percoco, et al., S2 16 Cr. 776 (VEC)

Dear Judge Caproni:

       We respectfully submit this letter on behalf of Peter Galbraith Kelly, Jr. and his co-
defendants Joseph Percoco, Steven Aiello, and Joseph Gerardi (together with Mr. Aiello, the
“Syracuse Defendants”).

       Pursuant to the Court’s instruction at the Pre-Trial Conference, the parties have worked
together to develop a joint Jury Questionnaire. While we have agreed on the majority of the
questions, the defense has proposed some questions with which the Government disagrees.
Those questions (6, 8, 9, 10, and part of 16) are bracketed in the attached document. In the
footnotes, the defense explains why these questions are appropriate for inclusion in the Jury
Questionnaire.

        Pursuant to the Court’s further instruction, we also write regarding our application for
additional peremptory challenges. As the Court is aware, this case includes two separately
alleged schemes. It is undisputed that Mr. Kelly did not participate in the scheme in which the
Syracuse Defendants are charged, and vice versa. Indeed, the Court’s Opinion and Order
resolving the pre-trial motions noted that “the joinder of the January Trial Group Defendants
(Percoco, Kelly, Aiello, and Gerardi) presents a closer question [than the joinder of the Second
Trial Group]” given that “[t]he crimes alleged against [the January Trial Group Defendants] are
not as similar to each other as the RFP charges are in the Second Trial Group, as they
contemplate different types of action from Howe and Percoco for those actions’ respective
beneficiaries.” (Doc. No. 390 at 26). Your Honor then cited the S2 Indictment to demonstrate
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that the allegations against Mr. Kelly involve securing emissions credits whereas the allegations
against the Syracuse Defendants involve averting a labor agreement. (Id. at n.14). Given these
differences, it is plain that Mr. Kelly and the Syracuse Defendants would have different strategic
approaches to their peremptory challenges. Just because Mr. Kelly and the Syracuse Defendants
happen to share a jury—notwithstanding the fact that they are charged in two completely
separate, non-overlapping schemes—does not mean it is fair for Mr. Kelly and the Syracuse
Defendants to share their strikes.

        Rule 24(b)(2) of the Federal Rules of Criminal Procedure provides that the Government
has 6 peremptory challenges and the defendants have 10 peremptory challenges; in other words,
the Government receives 60% of the challenges that the defense receives. In discussing this
application on a phone call with the Government, the Government indicated that if extra strikes
were granted, the Government would want the proportion of Government strikes to defense
strikes to remain consistent with Rule 24. Consistent with that conversation, the defense
proposed that the Government have 8 strikes and the defendants have 14 strikes. In terms of the
ratio of Government to defense strikes, this proposal is nearly the same as what Rule 24
provides. The defense proposal gives the Government approximately 57% of the strikes that the
defense has (8/14 = approximately .57). Put differently for ease of comparison, the ratios are
21:35 (Rule 24) and 20:35 (defense proposal), respectively. This proposal allows for only one
extra strike per defendant, while it provides two extra strikes for the Government. As set forth
above, the defense believes that the extra strikes are fair given the number of defendants and the
nature of the case. The Government informs us that it objects to this application.


                                                     Respectfully submitted,


                                               LANKLER SIFFERT & WOHL LLP

                                               By:       /s/ Daniel M. Gitner

                                               Daniel M. Gitner
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                                               Rachel S. Berkowitz

CC:

All Counsel (Via ECF)
